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LAW OFFICES

 

 
    

 

 

   
     
 
  
    

vat eau | Franklin Avenue, Suite 305.
VINCENT L BRICCETTI jen City, New York 11530 |...
2-5600 Fax (516) 742-5040.) >

if

UNITED STATES DISTRICT JUDGE
_ SOUTHERN DISTRICT OF NERRYO@!

 

 

October 20, 2020

BY ECF

Hon. Vincent Briccetti

United States District Court, SDNY
300 Quarropas Street

White Plains, New York 10601

APPLICATION GRANTED
SO ORDERED:

       
     
   
    
 

 

Vincent L. Briccetti, U.S.D.J.
Dated:__[6/%6 {12 0

White Plains, NY
AG yurmed tu r[8]2

cH Ui 3d pn

cing on the Violation of

Re: United States v. Isaac Mallo
Docket # 13 CR 198 (VB)

Dear Judge Briccetti,

   

This matter is currently scheduled for sen
Supervised Release on October 23, 2020. Since our
been appointed by Judge Roman to replace Patrick Joyce, Esq., aS Ti orney.
U.S. v. Sims et al, 19 CR 857(NSR). A status conference in that case is
scheduled for November 17, 2020.

I therefore request that the sentencing in this matter be adjourned until
February 8, 2021 at 2:30 P.M. in order to determine the progress of the
pending criminal case.

I have discussed this request with AUSA Shiva Logarajah and U.S.
Probation Officer Joseph Lombardo, and they both consent to this application.

Thank you for your courtesy and consideration.
Respectfully yours,

Cole S. Wbanctin

JOHN S. WALLENSTEIN
JSW /hs
cc: AUSA Shiva Logarajah (by ECF)
USPO Joseph Lombardo (by email)
